  Case 19-33007-ABA                Doc 81 Filed 01/01/25 Entered 01/02/25 00:12:07                                 Desc Imaged
                                        Certificate of Notice Page 1 of 5
Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 19−33007−ABA
                                         Chapter: 13
                                         Judge: Andrew B. Altenburg Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Roberto A. Gittens                                       Cindy Gittens
   144 Canterbury Rd                                        144 Canterbury Rd
   Mount Laurel, NJ 08054−1416                              Mount Laurel, NJ 08054−1416
Social Security No.:
   xxx−xx−6743                                              xxx−xx−3542
Employer's Tax I.D. No.:


                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION

      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable Andrew B. Altenburg Jr.
on:

Date:     2/13/25
Time:      02:00 PM
Location: Courtroom 4B, Mitchell H. Cohen Courthouse, 1 John F. Gerry Plaza, 400 Cooper Street, Camden, NJ
08101−2067
for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Jeanie D. Wiesner, Debtor's Attorney, period: 8/7/2023 to 7/22/2024.

COMMISSION OR FEES
fee: $1,600.00.

EXPENSES
$0.00.

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
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Dated: December 30, 2024
JAN:

                                                   Jeanne Naughton
                                                   Clerk
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                                                  Certificate of Notice Page 3 of 5
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 19-33007-ABA
Roberto A. Gittens                                                                                                     Chapter 13
Cindy Gittens
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 30, 2024                                               Form ID: 137                                                              Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 01, 2025:
Recip ID                Recipient Name and Address
db/jdb                  Roberto A. Gittens, Cindy Gittens, 144 Canterbury Rd, Mount Laurel, NJ 08054-1416
cr                    + Progressive Garden State Insurance Company, Law Offices of Jan Meyer, 1029 Teaneck Road, Teaneck, NJ 07666-4514
518612684            ++ FLAGSHIP RESORT, 60 NORTH MAINE AVENUE, ATLANTIC CITY NJ 08401-5518 address filed with court:, Flagship Resort
                        Development, 60 N Maine Ave, Atlantic City, NJ 08401-5518
518612685               Hyat Hyat & Landau, PO Box 500, Eatontown, NJ 07724-0500
518612691               Progressive Ins for Damaris Santana, Attn: Jan Meyer & Assoc., 1029 Teaneck Rd Fl 2, Teaneck, NJ 07666-4514

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Dec 30 2024 20:29:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Dec 30 2024 20:29:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
518612676                 Email/Text: collections@abcofcu.org
                                                                                        Dec 30 2024 20:29:00      Abco Federal Credit Union, PO Box 247,
                                                                                                                  Rancocas, NJ 08073-0247
518695642                 Email/Text: ally@ebn.phinsolutions.com
                                                                                        Dec 30 2024 20:28:00      Ally Capital, PO Box 130424, Roseville MN
                                                                                                                  55113-0004
519262346              + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        Dec 30 2024 20:27:28      Ally Capital, AIS Portfolio Services, LP, 4515 N
                                                                                                                  Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
518612677                 Email/Text: ally@ebn.phinsolutions.com
                                                                                        Dec 30 2024 20:28:00      Ally Financial, POB 380901, Bloomington, MN
                                                                                                                  55438-0901
518612678              + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Dec 30 2024 20:38:29      Capital One, POB 30253, Salt Lake City, UT
                                                                                                                  84130-0253
518612680              + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Dec 30 2024 20:27:29      Capital One Bank, PO Box 30281, Salt Lake City,
                                                                                                                  UT 84130-0281
518632962              + Email/PDF: ebn_ais@aisinfo.com
                                                                                        Dec 30 2024 20:38:21      Capital One Bank (USA), N.A., 4515 N Santa Fe
                                                                                                                  Ave, Oklahoma City, OK 73118-7901
518612681              + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                   Dec 30 2024 20:29:00                           Comenity Bank/VCTRSSEC, PO Box 182789,
                                                                                                                  Columbus, OH 43218-2789
518612687                 Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 30 2024 20:38:21      Macys/DSNB, PO Box 8218, Mason, OH
                                                                                                                  45040-8218
518612682                 Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 30 2024 20:27:36      ExxonMobil / Citibank, PO Box 6217, Sioux Falls,
                                                                                                                  SD 57117-6217
518612683                 Email/Text: ecourts.col_efilings@fskslaw.com
                                                                                        Dec 30 2024 20:29:00      Fein Such Kahn Shepard, 7 Century Dr Ste 201,
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District/off: 0312-1                                               User: admin                                                            Page 2 of 3
Date Rcvd: Dec 30, 2024                                            Form ID: 137                                                         Total Noticed: 25
                                                                                                            Parsippany, NJ 07054-4609
518612686                 Email/Text: PBNCNotifications@peritusservices.com
                                                                                   Dec 30 2024 20:28:00     Kohls/Capital One, PO Box 3115, Milwaukee, WI
                                                                                                            53201-3115
518612688                 Email/Text: NissanBKNotices@nationalbankruptcy.com
                                                                                   Dec 30 2024 20:29:00     Nissan-Infiniti LT, PO Box 660366, Dallas, TX
                                                                                                            75266-0366
518719315                 Email/Text: Bankruptcy.Notices@pnc.com
                                                                                   Dec 30 2024 20:29:00     PNC BANK, NATIONAL ASSOCIATION, 3232
                                                                                                            NEWMARK DR, MIAMISBURG, OH 45342
518612689                 Email/Text: Bankruptcy.Notices@pnc.com
                                                                                   Dec 30 2024 20:29:00     PNC Bank, PO Box 3180, Pittsburgh, PA 15230
518612690                 Email/Text: Bankruptcy.Notices@pnc.com
                                                                                   Dec 30 2024 20:29:00     PNC Bank NA, 3232 Newmark Dr, Miamisburg,
                                                                                                            OH 45342-5421
518612692                 Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   Dec 30 2024 20:38:28     SYNCB/Care Credi, PO Box 965036, Orlando, FL
                                                                                                            32896-5036
518612693                 Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   Dec 30 2024 20:27:59     SYNCB/JC Penney, PO Box 965036, Orlando, FL
                                                                                                            32896-5036

TOTAL: 20


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
518612679          *+            Capital One, POB 30253, Salt Lake City, UT 84130-0253

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 01, 2025                                        Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 29, 2024 at the address(es) listed
below:
Name                              Email Address
Andrew B Finberg
                                  on behalf of Trustee Andrew B Finberg ecfmail@standingtrustee.com ecf.mail_9022@mg.bkdocs.us

Andrew B Finberg
                                  ecfmail@standingtrustee.com ecf.mail_9022@mg.bkdocs.us

Isabel C. Balboa
                                  on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com summarymail@standingtrustee.com

Jeanie D. Wiesner
                                  on behalf of Debtor Roberto A. Gittens jeanie@sadeklaw.com
                                  brad@sadeklaw.com;service@sadeklaw.com;Wiesner.JeanieB140679@notify.bestcase.com

Jeanie D. Wiesner
                                  on behalf of Joint Debtor Cindy Gittens jeanie@sadeklaw.com
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Date Rcvd: Dec 30, 2024                                     Form ID: 137                                                Total Noticed: 25
                          brad@sadeklaw.com;service@sadeklaw.com;Wiesner.JeanieB140679@notify.bestcase.com

R. A. Lebron
                          on behalf of Creditor PNC BANK NATIONAL ASSOCIATION bankruptcy@fskslaw.com

R. A. Lebron
                          on behalf of Creditor PNC Bank National Association bankruptcy@fskslaw.com

Raymond Shockley, Jr
                          on behalf of Trustee Isabel C. Balboa ecf@standingtrustee.com

Richard L Elem
                          on behalf of Creditor Progressive Garden State Insurance Company relem@murphysanchez.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 10
